






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00215-CR







Cedrick Hardin, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 2023015, HONORABLE JON N. WISSER, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's brief on appeal was due December 1, 2003.  No brief has been filed on
appellant's behalf, and appointed counsel did not respond to the notice that the brief is overdue.

Appellant's counsel, Ms. Sylvia Griffith Sanders, is ordered to file a brief in
appellant's behalf no later than March 5, 2004.  No further extension of time will be granted. 

It is ordered February 5, 2004.


Before Justices Kidd, B. A. Smith and Pemberton

Do Not Publish


